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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                        8:16CR252

       vs.
                                                                           ORDER
MANUEL CEBALLOS QUIROZ,

                       Defendant.


       This matter is before the court on defendant's UNOPPOSED MOTION TO CONTINUE
DEADLINE FOR FILING PRETRIAL MOTIONS [16]. For good cause shown, I find that the
motion should be granted. The defendant will be given an approximate 4-week extension. Pretrial
Motions shall be filed by October 13, 2016.


       IT IS ORDERED:
       1.      Defendant's MOTION TO CONTINUE DEADLINE FOR FILING PRETRIAL
MOTIONS [16] is granted. Pretrial motions shall be filed on or before October 13, 2016.
       2.      Defendant is ordered to file the affidavit required by Rule 16(c), Fed. R. Cr. P. and
NE. Crim. R. 12.1 forthwith.
       3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between today’s date and October 13, 2016, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       Dated this 15th day of September, 2016

                                                       BY THE COURT:
                                                       s/ F.A. Gossett, III
                                                       United States Magistrate Judge
